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14                                  UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16

17    JAMES MILSTEAD, et al.,                          Case No. 4:21-cv-06338-JST

18                    Plaintiffs,                      JOINT CASE MANAGEMENT
                                                       STATEMENT
19          v.
                                                       Date: October 18, 2024
20    GENERAL MOTORS LLC, et al.,                      Time: 1:30pm
                                                       Judge: Hon. Jon S. Tigar
21                    Defendants.
22          Pursuant to the Court’s scheduling order (ECF 255) the parties submit the following joint
23   case management statement in advance of the case management conference scheduled for
24   October 18, 2024.
25   I.     Status of Discovery
26          1.      Plaintiffs served their first set of Requests for Production (RFPs) on GM on
27   November 22, 2023. GM served responses and objections on December 22, 2023. Plaintiffs have
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 1   reviewed GM’s productions in response to the first set of RFPs. The parties will continue to meet

 2   and confer about GM’s responsive productions, as necessary.

 3          2.      Plaintiffs served their second set of RFPs on GM on March 18, 2024. GM served

 4   its responses on April 22, 2024. After reviewing GM’s responses to the second set of RFPs,

 5   Plaintiffs served a subpoena on Aptiv, as discussed below. The parties will continue to meet and

 6   confer as necessary.

 7          3.      Plaintiffs served their third and fourth set of RFPs on GM on May 20, 2024. GM

 8   served their responses and objections to Plaintiffs’ third set of RFPs on July 19, 2024, and their

 9   responses and objections to Plaintiffs’ fourth set of RFPs on July 26, 2024. The parties are

10   meeting and conferring as necessary to narrow disputes.

11          4.      GM made rolling document productions on May 20 and 29, 2024, June 6 and 27,

12   2024, and most recently made a production of approximately 14,500 pages of documents on

13   October 10, 2024; GM will continue to make productions on a rolling basis. To date, GM has

14   produced over 1 million pages of documents responsive to Plaintiffs’ RFPs, as well as two hard

15   drives containing over 250 GB of technical data.

16          5.      On August 12, 2024, GM provided Plaintiffs with its initial list of ten proposed

17   document custodians. In accordance with the parties’ stipulated ESI Protocol, Plaintiffs requested

18   that GM disclose all individuals it has identified as likely to possess relevant knowledge so that

19   the parties may confer as to the most appropriate individuals from whom to collect documents

20   and other data, and stated that a list identifying when and to whom litigation holds were issued in

21   connection with this litigation would be sufficient as to current employees and custodians. See

22   ECF 233, §5(a) (“The parties will meet and confer and disclose information about those

23   custodians, custodial and non-custodial data sources, and third parties likely to possess relevant or

24   responsive information in accordance with Fed. R. Civ. P. 26 and the Court’s ESI Guidelines and

25   Checklist for Rule 26(f) Meet and Confer Regarding Electronically Stored Information.”). GM

26   does not agree that the ESI Protocol or Rule 26 requires it to identify “all individuals” it has

27   identified as possessing relevant knowledge, as doing so would not be proportional to the needs

28   of the case. On October 11, 2024, GM provided a list of 53 individuals (former and current

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 1   employees) who were sensing or occupant performance engineers during the relevant period or

 2   who GM otherwise identified through a reasonable investigation who are either on legal hold or

 3   whose data is being preserved. Plaintiffs will evaluate GM’s list, and the parties will continue to

 4   meet and confer, as necessary.

 5          6.      Plaintiffs have raised with GM that they seek to take a Rule 30(b)(6) deposition

 6   regarding corporate structure, ESI preservation, and data sources to identify relevant custodians,

 7   third parties, and learn about the manner and methods used by GM store and maintain ESI. GM

 8   reserves all rights to oppose any such deposition. The parties will continue to meet and confer

 9   regarding custodial searches. The parties also anticipate further meet and confer efforts will be

10   needed on GM’s forthcoming search term disclosure.

11          7.      Plaintiffs served their first set of Interrogatories on GM on July 17, 2024. GM

12   requested extensions on the response date, which Plaintiffs granted as a professional courtesy.

13   During the extension period, GM requested, and plaintiffs agreed to meet and confer to address

14   objections to the Interrogatories prior to service of responses and objections. Following those

15   conferrals, GM served its responses and objections on September 13, 2024. Plaintiffs are

16   evaluating GM’s responses and objections.

17          8.      Plaintiffs served a subpoena to produce documents on third party Aptiv (formerly

18   known as Delphi/Delco) on May 20, 2024. On August 9, 2024, after extensive meet-and-confer

19   efforts, Aptiv produced documents relating to the SDMs supplied by Aptiv/Delphi for 2012

20   model year GM SUVs and trucks. Plaintiffs and Aptiv had negotiated and agreed to use model

21   year 2012 as a test production to inform and narrow, where possible, the scope of future

22   productions for all other model years. Plaintiffs reviewed the August 9, 2024 production to

23   inform their negotiations with Aptiv. Plaintiffs understand from Aptiv that it anticipates making

24   future productions for the remaining model years (1999-2011, 2013-2018) will take several

25   months given the scope of the Class Vehicles, the location of hard-copy and electronic

26   documents, and the availability of technical staff at Aptiv to compile the productions. Based on

27   their review of GM’s discovery responses, Plaintiffs have requested that Aptiv prioritize certain

28   vehicle platforms in the order of its forthcoming productions.

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 1          9.      GM reserves all rights with respect to Plaintiffs’ subpoena to Aptiv, including

 2   because GM has not been included in negotiations between Plaintiffs and Aptiv nor has it been

 3   provided an opportunity to give input into any of the alleged agreed to “test productions” or

 4   “prioritizations” discussed above. As discussed below, GM anticipates seeking its own non-

 5   duplicative discovery from Aptiv.

 6          10.     GM served its first set of RFPs and Interrogatories as to each named Plaintiff on

 7   April 10, 2024. Plaintiffs served their responses and objections to the RFPs on May 10, 2024, and

 8   their responses and objections to the Interrogatories on May 24, 2024 (pursuant to a two-week

 9   extension, which GM also granted as a professional courtesy). The parties exchanged written

10   correspondence regarding Plaintiffs’ responses and objections and held a meet-and-confer call via

11   video conference, where the parties resolved several disputes. Plaintiffs made their initial

12   document production in response to GM’s first set of RFPs on July 12, 2024, and made a second

13   production on September 30, 2024. To date, Plaintiffs have produced 63 documents totaling 212

14   pages. Plaintiffs have agreed to provide supplemental interrogatory responses reflecting the

15   resolved disputes referenced above. The parties are currently negotiating custodians and search

16   terms for Plaintiffs, including information and documents related to third-parties Chris Caruso

17   and Sal Fariello.

18          11.     Plaintiffs will continue to make productions on a rolling basis.

19          12.     The parties have conferred about their anticipated subjects of discovery in this

20   matter. See ECF 216 at 6-7 (presenting the parties’ positions on anticipated discovery).

21          13.     GM anticipates serving additional discovery on and deposing the named Plaintiffs.

22   GM further anticipates serving discovery on and/or deposing certain third parties, including

23   absent class members, Chris Caruso, Sal Fariello, and Aptiv (f/k/a Delphi) and its current or

24   former employees.

25          14.     The parties have not otherwise discussed specific discovery that is not yet

26   propounded at this time.

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 1   II.     Other Issues

 2           15.    On September 27, 2024, after extensive meet-and-confer efforts, the parties

 3   submitted to the Court a stipulation with proposed order governing privilege logging (ECF 257).

 4           16.    On February 6, 2024, this Court entered its Scheduling Order (ECF 220) setting

 5   dates through class certification, including a February 28, 2025, deadline for Plaintiffs to file their

 6   class certification motion. Considering the current pace of discovery and despite the parties’

 7   diligent efforts, Plaintiffs believe they will not be able to meet the deadline for their class

 8   certification motion in the current case schedule. GM does not oppose a reasonable extension of

 9   the current schedule. The parties will confer about a proposal to present to the Court for a

10   proposed extension of the current case schedule for the Court’s consideration.

11           17.    An extension of the deadline is necessary because, while the parties have been

12   actively engaged in the discovery and meet-and-confer process, the pace has been slower than

13   anticipated due to several factors. This includes the roughly 20-year range and scores of make-

14   and model Class Vehicles implicated in Plaintiffs’ operative complaint, third-party discovery and

15   resulting negotiations discussed above, and as alleged in Plaintiffs’ complaint, the complex,

16   technical nature of the alleged SDM Calibration Defect, which GM believes cannot be fairly

17   described as one defect. As related above, the parties are in the process of negotiating GM’s and

18   plaintiffs’ ESI custodians, and further meet and confers will be needed on the search terms GM

19   and plaintiffs will use to review the ESI corpus for production consistent with the stipulated ESI

20   Protocol. Plaintiffs and GM then anticipate review and analysis of those documents once

21   produced, and for further fact discovery, depositions, and expert work to follow therefrom.

22           18.    By November 8, 2024, the parties will submit to the Court: (a) a joint statement

23   with a proposed, revised case schedule through class certification or (b) if the parties are unable to

24   reach agreement, the parties may submit competing motions or a unilateral motion for an

25   extension of the current case schedule.

26           19.    The parties do not have other matters or disputes requiring the Court’s attention at

27   this time.

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 1                         ATTESTATION (CIVIL LOCAL RULE 5-1(i)(3))

 2          In accordance with Civil Local Rule 5-1(i)(3), I attest the concurrence in the filing of this

 3   document has been obtained from the signatories.

 4
     Dated: October 11, 2024               /s/ Roland Tellis
 5                                         Roland Tellis
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 1                                    CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on October 11, 2024, a true and correct copy of the foregoing

 3   was electronically filed and served electronically via the Court’s CM/ECF system, which will

 4   automatically serve notice to all registered counsel of record.

 5
                                                   /s/ Roland Tellis
 6                                                 Roland Tellis
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